                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               at GREENEVILLE


LINDSEY STONE                            )
                                         )
v.                                       )      NOS. 2: 13-cv-04; 2:09-cr-31
                                         )      Judge Jordan
UNITED STATES OF AMERICA                 )



                                     JUDGMENT


       In accordance with the accompanying memorandum and order, petitioner's motion

to vacate, set aside, or correct sentence under 28 U.S.C. § 2255 is GRANTED, (Doc. 1145).

An order amending judgment will be entered in Case Number 2:0-cr-31.
                                                            09



       SO ORDERED.

       ENTER:




ENTERED AS A JUDGMENT
   s/ Debra C. Poplin
   CLERK OF COURT




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